                           UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Joseph Walker aka Joe Walker
                            Debtor/Plaintiff(s)             CHAPTER 13

M&T Bank
                     Secured Creditor/Defendant
                     v.                                     ADVERSARY NO. 19-00228 MDC
Joseph Walker aka Joe Walker
                            Debtor/Plaintiff(s)             BANKRUPTCY NO. 19-12097 MDC

William C. Miller Esq.
                               Trustee


                             AMENDED SCHEDULING ORDER


       Upon consideration of Secured Creditor/Defendant’s Request to Amend the November 8,

2021 Scheduling Order and Plaintiff’s concurrence thereto, it is

       ORDERED Secured Creditor/Defendant’s Request is GRANTED and it is

       FURTHER ORDERED that the Scheduling Order is amended as follows:

               A. All discovery shall be completed on or before May 31, 2022.


               B. Plaintiff to identify all expert witnesses and a copy of each expert’s report shall be
               provided to Defendant, in accordance with Fed. R. Civ. P. 26(a)(2) on or before June
               30, 2022.


               C. Defendant to identify all expert witnesses and a copy of each expert’s report shall
               be provided to Plaintiff, in accordance with Fed. R. Civ. P. 26(a)(2) on or before July
               31, 2022.


               C. All motions to amend the pleadings or for summary judgment shall be filed on or
               before August 31, 2022.
             D. All discovery disclosures pursuant to Fed. R. Civ. P. 26(a)(3) shall be served on
             opposing parties and filed with the bankruptcy court on or before September 15,
             2022.


             E. Any objections to the Rule 26(a)(3) disclosures shall be served on opposing parties
             and filed with the bankruptcy court on or before September 30, 2022.


             F. On or before October 31, 2022, the parties shall file a joint pretrial statement
             consistent with the form set forth in paragraph 7 below and file a copy with
             chambers. The joint pretrial statement shall be signed by all counsel. It is the
             obligation of the plaintiff’s counsel to initiate, assemble and submit the proposed
             pretrial statement. Plaintiff’s counsel shall submit a proposed joint pretrial statement
             to defendant’s counsel not less than 7 days prior to the deadline for its submission.


             Counsel are expected to make a diligent effort to prepare a proposed pretrial
             statement in which will be noted all of the issues on which the parties are in
             agreement and all of those issues on which they disagree. The proposed pretrial
             statement shall supersede all pleadings in the case. Amendments will be allowed only
             in exceptional circumstances and to prevent manifest injustice.


             G. All motions in limine shall be filed on or before October 31, 2022.


             H. The mandatory pretrial/settlement conference shall be scheduled on
             November 16, 2022, at 11:00 a.m.



                                                                By the court:



Dated: January 19, 2022
                                                                Magdeline D. Coleman
                                                                Chief U.S. Bankruptcy Judge
